Case 1:18-cv-00021-MSK-NYW Document 205 Filed 05/06/19 USDC Colorado Page 1 of 2

Appellate Case: 19-1090      Document: 010110164265          Date Filed: 05/06/2019     Page: 1
                                                                                          FILED
                                                                              United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                              Tenth Circuit

                                FOR THE TENTH CIRCUIT                                  May 6, 2019
                            _________________________________
                                                                                  Elisabeth A. Shumaker
                                                                                      Clerk of Court
    ARTHUR MCKEE WISEHART,

          Plaintiff - Appellant,

    v.                                                             No. 19-1090
                                                      (D.C. No. 1:18-CV-00021-MSK-NYM)
    ARTHUR DODSON WISEHART,                                         (D. Colo.)
    WISEHART SPRINGS INN, CHARLES
    WINSTON WISEHART,

          Defendants - Appellees.
                         _________________________________

                                         ORDER
                            _________________________________

   Before TYMKOVICH, Chief Judge, McHUGH and CARSON, Circuit Judges.
                    _________________________________

          We raise sua sponte the question of whether this court has jurisdiction to consider

   this appeal. Arthur M. Wisehart, proceeding pro se, filed a notice of appeal of the district

   court’s March 5, 2019 opinion and order denying his motion for summary judgment.

          Generally, this court’s jurisdiction is limited to review of final decisions. 28

   U.S.C. § 1291; see also Utah v. Norton, 396 F.3d 1281, 1286 (10th Cir. 2005) (describing

   final decisions as those that end the litigation on the merits and leave nothing for the

   court to do but execute the judgment). “As a general rule, the denial of summary

   judgment is not a final decision within the meaning of 28 U.S.C. § 1291, and is,

   therefore, not appealable.” Moore v. City of Wynnewood, 57 F.3d 924, 928 (10th Cir.

   1995). Review of the district court docket reflects that the district court has not yet
Case 1:18-cv-00021-MSK-NYW Document 205 Filed 05/06/19 USDC Colorado Page 2 of 2

Appellate Case: 19-1090      Document: 010110164265          Date Filed: 05/06/2019      Page: 2



   entered a final decision. Mr. Wisehart’s response to this court’s show cause order does

   not establish that this court has jurisdiction to consider the district court’s March 5, 2019

   opinion and order at this time.

          APPEAL DISMISSED.




                                                  Entered for the Court
                                                  ELISABETH A. SHUMAKER, Clerk


                                                  by: Lindy Lucero Schaible
                                                      Counsel to the Clerk




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